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                   IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAI‘I


  ST. PAUL FIRE AND MARINE                      Case No. 20-cv-00288-DKW-WRP
  INSURANCE COMPANY,
  THE TRAVELERS INDEMNITY
  COMPANY OF AMERICA,
  THE PHOENIX INSURANCE COMPANY,
  TRAVELERS PROPERTY CASUALTY
  COMPANY OF AMERICA,                           ORDER CERTIFYING
                                                QUESTIONS TO THE
              Plaintiffs,                       HAWAI‘I SUPREME COURT

        vs.

  BODELL CONSTRUCTION COMPANY,
  SUNSTONE REALTY PARTNERS X, LLC,
  STEADFAST INSURANCE COMPANY,

              Defendants.


                                  INTRODUCTION

        Pending before the Court is Defendant Bodell Construction Company’s

  (Bodell) motion for partial summary judgment and Defendant Sunstone Realty

  Partners X, LLC’s (Sunstone) substantive joinder in said motion. Both Bodell and

  Sunstone seek summary judgment as to Plaintiffs’ St. Paul Fire and Marine

  Insurance Company (St. Paul), Phoenix Insurance Company (Phoenix), The

  Travelers Indemnity Company of America (Travelers Indemnity), and Travelers

  Property Casualty Company of America (Travelers Property, and, collectively,
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  Plaintiffs) claims for equitable reimbursement of defense fees and costs. As more

  fully discussed below, the principal dispute between the parties is a legal one:

  whether the State of Hawai‘i authorizes equitable reimbursement of defense fees and

  costs incurred by an insurer in litigating on behalf of its insured.

         Having reviewed the parties’ briefing on this matter, the Court finds that

  certifying the questions set forth in greater detail below is the appropriate course of

  action because, pursuant to Rule 13(a) of the Hawai‘i Rules of Appellate Procedure

  (HRAP), the questions are determinative of the cause, and there is no clear

  controlling precedent in Hawai‘i’s judicial decisions. 1

         Pursuant to HRAP 13(b), below, the Court sets forth a statement of prior

  relevant proceedings in this case, a statement of facts showing the nature of the

  cause, the circumstances out of which the questions arise, and the questions of law to

  be answered.

                       STATEMENT OF PRIOR PROCEEDINGS

         On June 25, 2020, Plaintiffs filed a Complaint against Bodell, Sunstone, and

  Steadfast Insurance Company (Steadfast, and, collectively, Defendants). Dkt. No.

  1. Plaintiffs allege that they issued various “commercial liability” and “commercial



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   Although the parties recognize that there is no clear controlling precedent in Hawai‘i’s judicial
  decisions on this matter, none of the parties have requested certification to the Hawai‘i Supreme
  Court. Nonetheless, the Court finds certification to be the most appropriate course of action here
  and, thus, raises certification sua sponte. DW Aina Le‘a Dev., LLC v. State of Haw. Land Use
  Comm’n, 918 F.3d 602, 609 n.6 (9th Cir. 2019).

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  excess liability” insurance policies to Bodell. Further, in 2015, the Association of

  Apartment Owners of Ali’i Cove (AOAO) sued Sunstone, the developer of Ali’i

  Cove, in the First Circuit Court of the State of Hawai‘i for selling condominium

  units with defective “embedded straps” and numerous other defects. Sunstone, in

  turn, sued Bodell, the company that had allegedly performed construction work,

  including the use of the embedded straps, at Ali’i Cove. Sunstone and Bodell then

  tendered the defense of their respective lawsuits to their insurance carriers, some or

  all of whom accepted the defenses “under a full reservation of rights including the

  right to seek reimbursement of any defense related payments made on behalf of

  [Sunstone and/or Bodell]…with respect to claims not covered by the policies.”

        Among other claims in the Complaint, Plaintiffs seek a declaration that they

  owe no duty to defend or indemnify Bodell or Sunstone with respect to any claims

  asserted in the Ali’i Cove litigation. More pertinent to the instant matter, Plaintiffs

  also seek equitable reimbursement from Bodell and Sunstone of fees and costs

  incurred in defending them in the Ali’i Cove litigation. As of the filing of the

  Complaint, Plaintiffs alleged that, in total, these fees and costs exceeded $1.25

  million.

        After a series of motions for partial summary judgment were filed by the

  parties, the Court, on May 2, 2022, ruled as follows. Dkt. No. 156. First, the Court

  found that, with respect to insurance policies issued between September 30, 2003


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  and September 30, 2012, Plaintiffs had no duty to defend or indemnify Bodell or

  Sunstone for claims asserted in the Ali’i Cove litigation because those claims were

  not covered by the applicable policies. Second, the Court found that, with respect

  to insurance policies issued between September 30, 2012 and September 30, 2016,

  (1) simply because damages in the Ali’i Cove litigation may have resulted from

  work self-performed by Bodell did not mean that Plaintiffs had no duty to indemnify

  for those damages, (2) payment for “one occurrence” was limited by language in the

  applicable policies, and (3) the Ali’i Cove litigation involved more than one

  occurrence under the applicable policies.

        On September 1, 2022, the parties entered a Joint Stipulation in which the

  parties, inter alia, stipulated that Phoenix had a duty to defend Bodell and Sunstone

  under four policies issued by Phoenix to Bodell from September 30, 2012 to

  September 30, 2016 (collectively, “the Phoenix Policies”). Dkt. No. 170.

        On September 6, 2022, the parties initiated another round of

  summary-judgment practice, one of which, as discussed in more detail below,

  concerns the matter at issue here.

                              STATEMENT OF FACTS

        Plaintiffs have issued various “commercial liability” and “commercial excess

  liability” insurance policies to Bodell, including the Phoenix Policies. The Phoenix

  Policies do not contain an express provision providing for the reimbursement of


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  defense fees or costs. According to Plaintiffs, the reimbursement of defense fees

  and costs under the Phoenix Policies is a “term implied in fact.”

         In 2003, Bodell was hired by developer Sunstone as the general contractor for

  construction work at Ali’i Cove, a condominium project. Ali’i Cove consisted of

  approximately 37 buildings and 1 recreation center that were constructed over the

  course of 4 years.

         On August 14, 2015, the AOAO filed an action against Sunstone (“the

  Underlying Litigation”) in the First Circuit Court of the State of Hawai‘i (“First

  Circuit Court”). The Complaint and First Amended Complaint in the Underlying

  Litigation alleged that Sunstone developed, built, and sold condominium units using

  embedded straps that did not meet building codes, instead of bolting house frames to

  their foundation. The AOAO demanded the replacement of the embedded straps

  and the repair of all defects. On March 21, 2017, the AOAO filed a Second

  Amended Complaint against Sunstone, alleging numerous additional defects beyond

  the embedded straps, including those relating to site conditions, structural issues,

  building envelope, roofing, general architecture, mechanical, plumbing, and

  electrical.

         Sunstone filed a Third-Party Complaint in the Underlying Litigation against

  various entities, including Bodell and Becerra Concrete Construction (“Becerra”).

  The Third-Party Complaint alleged that Bodell oversaw construction at Ali’i Cove,


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  including the installation of the embedded straps in all units. The Third-Party

  Complaint also alleged that Becerra was the subcontractor responsible for concrete

  and masonry work, including work associated with setting the embedded straps.

        In March 2016, Sunstone tendered the defense of the Underlying Litigation to

  St. Paul, Phoenix, and Travelers Indemnity pursuant to policies issued to Bodell.

  St. Paul, Phoenix, and Travelers Indemnity agreed to defend Sunstone under a full

  reservation of rights. Also in March 2016, Bodell tendered the Underlying

  Litigation to its insurance carriers. Two of Bodell’s insurers, Phoenix and

  Travelers Indemnity, agreed to defend Bodell under a full reservation of rights. In

  the reservation of rights letters to Bodell and Sunstone, the applicable Plaintiffs

  reserved the right to seek reimbursement of defense related payments “with respect

  to claims not potentially covered by the policy,” even though no express term of the

  relevant policies addressed reimbursement.

        At some point, the Underlying Litigation was stayed pending the outcome of

  two arbitrations. In one arbitration, the AOAO arbitrated its claims against

  Sunstone and, on April 29, 2020, a settlement was reached between them.

  Sunstone and Steadfast, Sunstone’s insurer, funded the settlement.

        The second arbitration involved Sunstone’s third-party claims against Bodell

  (“the Second Arbitration”). On June 18, 2021, an Arbitration Decision and Award

  (“the Award”) was issued in the Second Arbitration in favor of Sunstone. The


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  arbitrator relied on a Subrogation Response from Trinity ERD (“Trinity Response”)

  as a framework for identifying alleged defects, but did not differentiate between

  work done by subcontractors versus work done by Bodell. The Trinity Response

  included 281 items of alleged defects, including deficiencies in window installations

  and shower assemblies. The Award listed numerous defects for which Bodell was

  responsible or partly responsible. Some of the alleged defects at Ali’i Cove

  involved work performed by subcontractors. On January 10, 2022, the First Circuit

  Court confirmed the Award.

        According to Plaintiffs, they have incurred more than $1.9 million in

  attorneys’ fees and costs in defending the Underlying Litigation and the related

  arbitrations.

        LEGAL CIRCUMSTANCES OF THE CERTIFIED QUESTIONS

        On September 9, 2022, Bodell filed a motion for partial summary judgment

  with respect to Plaintiffs’ claim for equitable reimbursement of defense fees and

  costs. Dkt. No. 176. On September 12, 2022, Sunstone filed a joinder to Bodell’s

  motion. Dkt. No. 179. On September 30, 2022, Plaintiffs filed an opposition to

  Bodell’s motion. Dkt. No. 186. On October 14, 2022, Bodell and Sunstone each

  filed replies in support of the motion and joinder, respectively. Dkt. Nos. 202-203.

        Bodell and Sunstone argue that, because no Hawai‘i appellate court has

  recognized an insurer’s right to reimbursement of defense fees or costs, Plaintiffs


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  should not be allowed to recover them here. Bodell and Sunstone also cite to other

  jurisdictions that have held an insurer has no right to reimbursement of defense costs

  absent language in a policy providing for the same. Conversely, Plaintiffs point to a

  decision, discussed in more detail below, from this District allowing an insurer to

  obtain reimbursement of defense costs when the insurer reserved that right in a

  reservation of rights letter, and there was no duty to defend. Plaintiffs also cite to

  decisions from California, where insurers are allowed to obtain reimbursement of

  defense costs, even when the defense involves both covered and uncovered claims.

  The Court summarizes some of these decisions below.

        On one end of the spectrum is a decision from this District on which Plaintiffs

  principally rely, Scottsdale Ins. Co. v. Sullivan Props., Inc., 2007 WL 2247795 (D.

  Haw. Aug. 2, 2007) (Scottsdale). In Scottsdale, after concluding that the insurer

  had no duty to defend its insured, the court predicted that the Hawai‘i Supreme

  Court would allow an insurer to seek reimbursement of defense costs when the

  insurer reserved the right to do so in its reservation of rights letter and the insured

  accepted the defense. Id. at *7. Specifically, in predicting Hawai‘i law in this

  fashion, the Scottsdale court relied on the following. First, Hawai‘i’s adherence to

  “general rules of contract construction” for insurance policies, which, according to

  the court, would result in reimbursement being “implied by the terms of the

  insurance policy” due to the fact that an insurer does not have a contractual duty to


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  defend claims with “no possibility of coverage….” Id. at *3. Second, Hawai‘i’s

  recognition of an insurer’s right to tender a defense pursuant to a reservation of

  rights, something which, according to the court, permits an insured to accept or not

  accept the insurer’s terms, such as seeking reimbursement of defense costs. Id. at

  *4. Third, Hawai‘i’s recognition of the doctrine of unjust enrichment, which,

  according to the court, is implicated if an insurer pays defense costs and is then

  determined not to have had a duty to defend. Id. Fourth, Hawai‘i courts

  frequently following California case law on insurance coverage issues and

  California courts allowing reimbursement of defense costs. Id. at *5. Finally,

  public policy, which the court found favored a right to reimbursement in Hawai‘i

  because, otherwise, “an insurer might be tempted to refuse to defend an action….”

  Id. at *6.

         Next, is a case from the California Supreme Court, Buss v. Superior Court,

  939 P.2d 766 (Cal. 1997). There, the California Supreme Court was faced with a

  “mixed” action, one involving claims both potentially covered and others that were

  not, and whether an insurer could obtain reimbursement of defense costs in such an

  action. The Buss Court concluded that, as for claims that were at least potentially

  covered, an insurer could not seek reimbursement of defense costs, while, for claims

  that were not potentially covered, the insurer could seek reimbursement. Id. at

  775-776. With respect to the latter claims, the Buss Court reasoned that, because an


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   insurer has not been paid premiums for the defense of claims that are not potentially

   covered, an insured would be unjustly enriched by an insurer having to bear

   “unbargained-for” costs related to these claims. Id. at 776-777. In addition to

   answering the fundamental question of whether defense costs were reimbursable,

   the Buss Court also held that, in order to obtain reimbursement, the insurer must

   prove, by a preponderance of the evidence, the defense costs “that can be allocated

   solely to the claims that are not even potentially covered.” Id. at 778.

         On a different end of the spectrum, at least from Scottsdale and Buss, is, for

   example, the Pennsylvania Supreme Court’s decision in Am. & Foreign Ins. Co. v.

   Jerry’s Sport Ctr., Inc., 2 A.3d 526 (Pa. 2010) (Jerry’s Sport). There, after

   concluding “a growing number of courts” have refused to follow Buss, the

   Pennsylvania Supreme Court held that an insurer could not obtain reimbursement of

   defense costs for a claim with respect to which a court later determines there was no

   duty to defend, even if the insurer asserted a right of reimbursement in a reservation

   of rights letter. Id. at 538, 546. The Jerry’s Sport Court stated that it reached this

   decision because of the “broad duty to defend” under Pennsylvania law and the

   language of the parties’ insurance policies that contained no provision allowing for

   reimbursement of defense costs. Id. at 540-544. The Pennsylvania Supreme

   Court also observed that it would have reached the same result even if it had adopted

   the reasoning of Buss, explaining that, even though a court had ruled the claim at


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   issue was not covered by the applicable policy, the claim was “potentially covered”

   and, thus, as in Buss, reimbursement of defense costs would not have been allowed

   for such a claim. Id. at 544.

         Although the parties and this Court concur that no binding decision on this

   matter has been rendered by the appellate courts of Hawai‘i, the Court mentions two

   cases from the Hawai‘i Supreme Court that may be of at least some relevance.

   First, in Nautilus Ins. Co. v. Lexington Ins. Co., 321 P.3d 634, 638 (Haw. 2014), the

   Hawai‘i Supreme Court answered various certified questions, including one that

   asked whether an insurer could look to another insurer’s policy to disclaim the duty

   to defend. In answering that question, the Nautilus Court discussed the duty to

   defend in Hawai‘i, including the general principle that “all doubts as to a duty to

   defend are resolved against the insurer and in favor of the insured.” Id. at 644.

   The Nautilus Court went on, explaining that, if an insurer is uncertain as to the

   existence of coverage, it has “several options[,]” including defending under a

   reservation of rights. In further explaining this option, the Nautilus Court stated

   that, “[i]n the event that it is later determined that the insurer had no duty to defend,

   the insurer may recoup its expenses from the insured.” Id.

         Second, in an earlier decision, First Ins. Co. of Haw., Inc. v. State of Haw.,

   665 P.2d 648 (Haw. 1983), the Hawai‘i Supreme Court again discussed, inter alia,

   the duty to defend. In rejecting an insurer’s argument that it had discharged its duty


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   to defend by accepting its insured’s tender under a reservation of rights letter, the

   First Ins. Court explained that “affording an insured a defense under a reservation of

   rights agreement merely retains any defenses the insurer has under its policy; it does

   not relieve the insurer of the costs incurred in defending its insured where the insurer

   was obligated, in the first instance, to provide such a defense.” Id. at 654.

         In summary, having reviewed the available case law, and the lack of any

   binding pronouncements from the appellate courts of Hawai‘i, this Court is reluctant

   to predict whether an insurer has a right to seek equitable reimbursement of defense

   fees and costs under Hawai‘i law. This is particularly so here given the potential

   impact on the insurance industry in Hawai‘i of a ruling on this matter. For the same

   reasons, this Court is also reluctant to predict, in the event an insurer is entitled to

   seek reimbursement, the parameters of any such right, such as the claims that are

   reimbursable and the burden of proof.

                                CERTIFIED QUESTIONS

         In light of the above, the Court respectfully certifies the following questions

   to the Hawai‘i Supreme Court:

         1.     Under Hawai‘i law, may an insurer seek equitable reimbursement from

                an insured for defense fees and costs when the applicable insurance

                policy contains no express provision for such reimbursement, but the




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                insurer agrees to defend the insured subject to a reservation of rights,

                including reimbursement of defense fees and costs?

         2.     If an insurer may seek equitable reimbursement of defense fees and

                costs under Hawai‘i law, (A) for what specific fees and costs may the

                insurer obtain reimbursement, (B) which party carries the burden of

                proof, and (C) what is the burden of proof?

         The Court does not intend the phrasing of the foregoing questions to restrict

   the Hawai‘i Supreme Court’s consideration of the relevant issues. If the Hawai‘i

   Supreme Court accepts review of the certified questions, it may, of course,

   reformulate the questions as it deems necessary. And perhaps equally obvious, this

   Court remains available to answer any questions that the Hawai‘i Supreme Court

   may have regarding any of the above.

                                          ORDER

         The Clerk of Court is ORDERED to transmit a copy of this Order to the

   Hawai‘i Supreme Court under the official seal of the United States District Court for

   the District of Hawai‘i. Haw.R.App.P. 13(c). The Clerk is also instructed to

   provide “original or copies of all or any portion of the record” in this case as the

   Hawai‘i Supreme Court may, in its discretion, require. Id.

         The parties shall file a joint notice in this Court within one week of the

   Hawai‘i Supreme Court’s decision to accept or reject certification. If the Hawai‘i


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   Supreme Court accepts the certified question(s), the parties shall file a joint status

   report to this Court every six months after the date of acceptance or more frequently

   if circumstances warrant.

         IT IS SO ORDERED.

         DATED: October 28, 2022 at Honolulu, Hawai‘i.




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